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                     IN THE UNITED STATES BANKRUPTCY
                     COURT FOR THE DISTRICT OF DELAWARE


  In re:                                              Chapter 11

  FTX TRADING LTD., et al.,
                                                      Case No. 22-11068 (JTD)
  Debtors.                                            (Jointly Administered)




  ALAMEDA RESEARCH LTD. and FTX
  TRADING LTD.,
                                Plaintiffs,           Adv. Pro. No. 23-50444 (JTD)

                       vs.
  PLATFORM LIFE SCIENCES INC., LUMEN
  BIOSCIENCE, INC., GREENLIGHT
  BIOSCIENCES HOLDINGS, PBC,
  RIBOSCIENCE LLC, GENETIC
  NETWORKS LLC, 4J THERAPEUTICS
  INC., LATONA BIOSCIENCES GROUP,
  FTX FOUNDATION, SAMUEL BANKMAN-
  FRIED, ROSS RHEINGANS-YOO, and
  NICHOLAS BECKSTEAD,
                                Defendants.



                                 ENTRY OF APPEARANCE

       PLEASE TAKE NOTICE that Michael J. Joyce, Esq. and the law firm of Joyce, LLC, and

Scott D. Simon, Esq. and the law firm of Goetz Fitzpatrick LLP hereby enter their appearance as

counsel on behalf of Latona Biosciences Group and Ross Rheingans-Yoo (together, the

“Defendants”) in the above-captioned adversary proceeding and hereby request that copies of all

notices and pleadings given or filed in this case be given and served upon the undersigned at the
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addresses listed below. In addition, it is respectfully requested that, pursuant to Rule 2002(g) of

the Federal Rules of Bankruptcy Procedure, the following be added to the Court’s Mailing Matrix:



    Michael J. Joyce, Esq.                          Scott D. Simon, Esq.
    JOYCE, LLC                                      GOETZ FITZPATRICK LLP
    1225 King Street                                One Penn Plaza
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    Wilmington, DE 19801                            New York, NY 10119
    Telephone: (302) 388-1944                       Telephone: (212) 695-8100
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       PLEASE TAKE FURTHER NOTICE that pursuant to Rules 2002 and 9010(b) of the

Federal Rules of Bankruptcy Procedure, the foregoing request includes, without limitation, all

orders and notices, including but not limited to applications, motions, petitions, pleadings,

requests, complaints, demands, replies, answers, schedules of assets and liabilities, statements of

affairs, operating reports and plans, whether formal or informal, whether written or oral and

whether transmitted or conveyed by mail, hand delivery, telephone, telegraph, telex, telecopier or

otherwise. This Notice of Appearance shall not constitute a submission by Defendants to the

jurisdiction of the Bankruptcy Court.

       FURTHER, if any limited-service lists are used in these proceedings, the undersigned

requests inclusion thereon.




                              [Signature Page to Follow]




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Dated: September 5, 2023
Wilmington, DE
                                    /s/ Michael J. Joyce
                                    Michael J. Joyce (No. 4563)
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                                    -and-

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                                    Counsel to Latona Biosciences Group and
                                    Ross Rheingans-Yoo




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